




NO. 07-97-0347-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL D



APRIL 16, 2002



______________________________





RONNIE FREEMAN, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE





_________________________________



FROM THE 140
TH
 DISTRICT COURT OF LUBBOCK COUNTY;



NO. 96-422758; HONORABLE JIM BOB DARNELL, JUDGE



_______________________________



Before BOYD, C.J., and QUINN and REAVIS, JJ.

ON REMAND FROM COURT OF CRIMINAL APPEALS

Upon remand from the Court of Criminal Appeals, we are called upon to consider the impact of that court’s more recent ruling in 
Standefer v. State,
 59 S.W.3d 177 (Tex.Crim.App. 2001) upon our original opinion in this matter. &nbsp;For the reasons explicated, we affirm the judgment of the trial court.

We previously reversed the judgment and remanded the case to the trial court because we found reversible error in the trial court’s refusal to allow the defense to question the jury panel as to the possible effect that the fact the victim was a two-week-old child might have on their verdict. &nbsp;In doing so, we relied on the court’s ruling in 
Maddux v. State
, 862 S.W.2d 590 (Tex.Crim.App. 1993), in which it found the trial court reversibly erred in refusing to allow counsel to question the venire concerning potential bias in favor of a child victim. &nbsp;
Id. 
at 592.
(footnote: 1) &nbsp;

Since then, the Court of Criminal Appeals has issued its opinion in 
Standefer 
in which it overrules 
Maddux 
and attempts to delineate a test to be employed in determining whether a particular question asked of a prospective juror attempts to bind or commit that juror to a verdict based on a hypothetical set of facts. &nbsp;The court has opined that a question is a commitment question “if one or more of the possible answers is that the prospective juror would resolve or refrain from resolving an issue in the case on the basis of one or more facts contained in the question.” &nbsp;
Standefer
, 59 S.W.3d at 179. &nbsp;Once it has been determined whether a particular question is a commitment question, the second inquiry is whether the question includes only the facts that lead to a valid challenge for cause. &nbsp;If it does not, the question should not be allowed. &nbsp;
Id. 
at 182-83. &nbsp;&nbsp;

In establishing this test, the court noted that it did not address the validity or construction of 
Nunfio v. State
, 808 S.W.2d 482 (Tex.Crim.App. 1991), 
overruled on other grounds by Gonzales v. State
, 994 S.W.2d 179 (Tex.Crim.App. 1999). &nbsp;
Standefer, 
59 S.W.3d
 
at 181 n.12. &nbsp;In 
Nunfio
, the question posed was whether the juror could be fair and impartial if the victim was a nun, and the court determined that because the question sought to determine potential bias or prejudice in favor of the victim by virtue of her vocation, it was permissible. &nbsp;
Nunfio, 
808 S.W.2d 
at 484-85. &nbsp;The 
Standefer 
court attempted to make a distinction between the question posed in 
Nunfio
 by finding that it did not ask a prospective juror to resolve or refrain from resolving any issue because a juror could be fair and still take into account the victim’s status as a nun as it might be logically relevant to the issues or decline to do so if that status should not be controlling. &nbsp;
Standefer
, 59 S.W.3d at 180. &nbsp;

 
In the case at bar, counsel stated that he wished to inform the jurors that the victim was a two-week-old child and to ask them “whether that fact would have any effect on their verdict, whether it be on guilt-innocence or on punishment.” &nbsp;Thus, the dilemma with which we are faced is whether this question, standing alone, is merely asking if the prospective juror can be fair and unbiased or whether it is requiring the prospective juror to resolve or refrain from resolving an issue in the case. &nbsp;&nbsp;

A person may be challenged for cause if he has a bias or prejudice in favor of or against the defendant. &nbsp;Tex. Code Crim. Proc. Ann. art. 35.16(a)(9) (Vernon 1989). 
 
The Court of Criminal Appeals has previously held that, even if a venire person has a bias or prejudice, if the record as a whole shows that the venire person can set aside his preconceptions, there is no abuse of discretion in refusing to grant a challenge for cause. &nbsp;
Garcia v. State
, 887 S.W.2d 846, 857-58 (Tex.Crim.App. 1994), 
cert. denied, 
514 U.S. 1005, 115 S.Ct. 1317, 131 L.Ed.2d 198 (1995). &nbsp;A juror may also be challenged for cause if he has established in his mind such a conclusion as to the guilt or innocence of the defendant that it would influence his verdict. &nbsp;Tex. Code Crim. Proc. Ann. art. 35.16(a)(10) (Vernon 1989). &nbsp;In that situation, the juror is to be asked whether his conclusion will influence his verdict and if he answers in the affirmative, he shall be discharged. &nbsp;
Id. &nbsp;

 
	Although we believe that, upon an affirmative response to the question posed, additional questioning might reveal that the prospective juror could set aside whatever personal prejudices he may have as a result of the victim being so young and follow the instructions of the court and the law, or establish that the juror has not, in fact, reached a conclusion as to guilt or innocence, &nbsp;the new rule set out by the Court of Criminal Appeals does not appear to permit the initial question. &nbsp;If the fact the victim is a two-week-old child will “affect” the verdict either on guilt, innocence or as to punishment, the question would presumably require as a 
possible
 answer that the prospective juror resolve or refrain from resolving an issue in the case.

Therefore, in line with our understanding of the court’s holding in 
Standefer, 
we find no reversible error in the trial court refusing to allow the defense to ask the question posed. &nbsp;We thus overrule appellant’s first issue. &nbsp;

In our original opinion, we did not address appellant’s remaining two issues because of our disposition of appellant’s first issue. &nbsp;We are now called upon to address those issues in which appellant complains the trial court erred in misdirecting the jury in the jury charge and improperly admitting evidence of a juvenile conviction. &nbsp;In his second issue, appellant argues that paragraph 2 of the second count of the indictment, which purports to allege felony murder, is defective because it does not specify a perpetrator or a date within the limitations period. &nbsp;Therefore, he contends, because the trial court charged the jury on felony murder and they returned a general verdict, they may have returned a verdict on an invalid indictment paragraph. &nbsp;

The State responds that article 21.24(c) of the Code of Criminal Procedure provides that a count is sufficient if any one of its paragraphs is sufficient. &nbsp;Thus, because paragraphs 1 and 3 of the second count are sufficient in alleging a perpetrator and a date, so is paragraph 2. &nbsp;Furthermore, it argues, appellant has waived his complaint because he did not object before the date of trial by filing a motion to quash the indictment.
(footnote: 2) &nbsp;&nbsp;&nbsp;

While appellant asserts that a defect in one count may not be cured by incorporating the allegations of another count of the indictment by reference, the State is not contending that any defects in paragraph 2 are cured by the allegations in another count, but by the allegations in other paragraphs of the same count in which appellant is named as the perpetrator and the date of July 2, 1996, is set forth as the offense date. &nbsp;Article 21.24 of the Code of Criminal Procedure provides:

(a) Two or more offenses may be joined in a single indictment, information, or complaint, with each offense stated in a separate count, if the offenses arise out of the same criminal episode, as defined in Chapter 3 of the Penal Code.



(b) A count may contain as many separate paragraphs charging the same offense as necessary, but no paragraph may charge more than one offense.



(c) A count is sufficient if any one of its paragraphs is sufficient. &nbsp;An indictment, information, or complaint is sufficient if any one of its counts is sufficient.



Tex. Code Crim. Proc. Ann. art. 21.24 (Vernon 1989). &nbsp;

A count charges the offense itself and a paragraph is a portion of the count which charges the method of committing the offense. &nbsp;
Helmus v. State
, 397 S.W.2d 437, 439-40 (Tex.Crim.App. 1965); 
Renfro v. State
, 827 S.W.2d 532, 535 (Tex.App.--Houston [1
st
 Dist.] 1992 , pet. ref’d); 
Romine v. Stat
e, 722 S.W.2d 494, 500-01 (Tex.App.--Houston [14
th
 Dist.] 1986, pet. denied). &nbsp;In this instance, the State waived the first count and proceeded only on the second count of the indictment. &nbsp;In that count, in three separate paragraphs, the State alleged that appellant (1) with intent to cause serious bodily injury to an individual committed an act clearly dangerous to human life by striking the victim about the head and body with a hard object being his hand thereby causing death, (2) while in the course of the commission of the felony offense of injury to a child committed an act clearly dangerous to human life by striking the victim with a hard object being his hand and hands and by shaking him thereby causing death, and (3) with intent to cause serious bodily injury committed an act clearly dangerous to human life by striking the victim with a hard object being his hand and hands and by shaking the victim thereby causing death. &nbsp;These are three different methods of committing the offense of murder. &nbsp;
See 
Tex. Pen. Code Ann. § 19.02(b) (Vernon 1994). 

We do not believe the indictment was defective by its failure to allege the perpetrator and date in paragraph 2, since those items are presented in the other paragraphs of the same count. &nbsp;Even if the indictment was defective, appellant failed to object to the defect, error, or irregularity of form or substance before the date on which the trial on the merits commences. &nbsp;
See 
Tex. Code Crim. Proc. Ann. art. 1.14(b) (Vernon Supp. 2002).
 &nbsp;
 &nbsp;&nbsp;&nbsp;

Appellant appears to concede that article 21.24 may save the indictment from a motion to quash based on a defective paragraph; however, he posits that the court still may not charge the jury on the defective paragraph. &nbsp;In support, he relies on 
Cumbie v. State
, 578 S.W.2d 732 (Tex.Crim.App. 1979), 
overruled on other grounds by Almanza v. State
, 686 S.W.2d 157 (Tex.Crim.App. 1984), in which the court held that the charge may not authorize conviction on a theory not alleged in the indictment because it would permit conviction on proof different from that required to prove the allegations in the indictment. 
Id. 
at 734. &nbsp;However, in this instance, the only difference in the proof required to prove the allegations in the indictment with respect to felony murder and those in the charge are the identity of appellant and the date of the offense. &nbsp;Moreover, the other two paragraphs in the count, which alleged different means of committing the same offense of murder and on which the jury was also charged, provided those facts. &nbsp;Appellant’s second issue is overruled.

In his third issue, appellant claims error on the part of the trial court in admitting &nbsp;evidence during the punishment phase of an adjudication of juvenile delinquency by commission of a misdemeanor. &nbsp;The gist of appellant’s argument is that article 37.07 § 3(i) of the Code of Criminal Procedure does not permit the introduction of evidence of an adjudication for conduct that is a violation of a misdemeanor punishable by confinement in jail if the conduct upon which the adjudication is based occurred prior to January 1, 1996. &nbsp;Because appellant’s delinquent conduct occurred in 1992, he thus claims error on the part of the trial court. 

To preserve a complaint for review, the record must show that the complaint was made to the trial court by a timely request, objection, or motion that stated the grounds for the ruling with sufficient specificity to make the trial court aware of the complaint unless the specific grounds are apparent from the context. &nbsp;Tex. R. App. P. 33.1(a)(a). &nbsp;At the time the evidence was offered, there was no objection on the part of appellant. &nbsp;In fact, appellant specifically stated that he had no objection to the introduction of the evidence. &nbsp;Therefore, he has failed to preserve any complaint for review, and his third issue is overruled.

In summary, we overrule all of appellant’s issues and, having found no reversible error, affirm the judgment of the trial court. &nbsp;



John T. Boyd

 Chief Justice



Publish.

FOOTNOTES
1:In 
Maddux
, the specific question asked was whether, in a hypothetical case where there was a murder conviction and a child had died, the jury would still be able to consider probation. &nbsp;
Id. 
at 591.


2:Appellant objected to the indictment during the pretrial hearing immediately prior to the commencement of trial. &nbsp;




